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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                               )
UNITED STATES OF AMERICA                       )
                                               )
v.                                             )      Criminal No.: 1:23-cr-00177-ABJ
                                               )
SHANE LAMOND,                                  )
                                               )
               Defendant.                      )
                                               )

                  DEFENDANT SHANE LAMOND’S CONSENT MOTION
                         TO CONTINUE STATUS HEARING

       Pursuant to Local Rule LCrR 57.2(b), Defendant Shane Lamond (“Mr. Lamond”), with

the consent of the United States of America, hereby respectfully requests a brief continuance of

the status hearing set for June 5, 2023 at 11:00 am. This initial status was set unilaterally prior to

Mr. Lamond’s arraignment.

       Prior to this case, Mr. Lamond scheduled a family vacation and will be out of the area on

June 5, 2023. Pretrial Services is aware of the travel plans and approved the same. The United

States, through AUSA Joshua Rothstein consents to the continuance of the status hearing, with

an agreement to exclude the time, from June 5, 2023 at 11:00 am to June 16th.

Date: May 30, 2023                             Respectfully submitted,

                                                /s/ Mark E. Schamel
                                               Mark E. Schamel (Bar No. 463965)
                                               Venable LLP
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                                               Washington, DC 20001
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of May 2023, I caused a copy of the foregoing to be

sent via the Court’s CM/ECF system to all counsel of record.



                                             /s/ Mark E. Schamel
                                            Mark E. Schamel
